      Case 4:20-cv-02078-MWB Document 81-1 Filed 11/12/20 Page 1 of 1




            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                    )
DONALD J. TRUMP FOR                 )
PRESIDENT, INC., et al.,            )
                                    )
                    Plaintiffs,     )
                                        Civil Action No. 4:20-cv-02078-
                                    )
                                        MWB
      v.                            )
                                    )
                                        Judge Matthew W. Brann
KATHY BOOCKVAR, in her capacity )
as Secretary of the Commonwealth of )
                                        Electronically Filed
Pennsylvania, et al.,               )
                                    )
                    Defendants.     )
                                    )

                                 ORDER

     AND NOW, this ________ day of November 2020, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

  1. Said Motion is GRANTED; and

  2. Plaintiffs’ Complaint is DISMISSED with prejudice.



                                         BY THE COURT:



                                         _______________________
                                         Matthew W. Brann
                                         United States District Judge
